                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA,                     )
                                                )
                Plaintiff,                      )
                                                )
  v.                                            )      No.:   3:17-CR-55-TAV-DCP-1
                                                )
  DANIEL LYNN WILLIAMS,                         )
                                                )
                Defendant.                      )


                        MEMORANDUM OPINION AND ORDER

         This criminal action is before the Court on defendant’s pro se motions for a new

  hearing and appointment of counsel [Doc. 108] and for a status update on that motion

  [Doc. 112]. In his motion for a new hearing and appointment of counsel, defendant

  contends that his counsel lied to him about how his sentence would be calculated, and

  therefore, a new hearing, with new counsel, is necessary [Doc. 108].

         “Section 2255 is the primary avenue for relief for federal prisoners protesting the

  legality of their sentence[.]” United States v. Peterman, 249 F.3d 458, 461 (6th Cir. 2001).

  Claims that counsel was constitutionally ineffective are properly raised in a § 2255 motion.

  Kuehne v. United States, Nos. 3:10cv379, 3:03cr063-1, 2011 WL 5526002, at *7 (S.D.

  Ohio Aug. 10, 2011) (“Federal prisoners who wish to pursue claims for ineffective

  assistance of counsel thus usually ‘should do so by way of a collateral proceeding pursuant

  to 28 U.S.C. § 2255’” (quoting United States v. Sanders, 404 F.3d 980, 986 (6th Cir.

  2005)).




Case 3:17-cr-00055-TAV-DCP Document 116 Filed 05/12/21 Page 1 of 2 PageID #: 1045
         Defendant appears to acknowledge that his complaints about counsel’s performance

  are properly raised in a § 2255 motion, as defendant has also filed a § 2255 motion raising

  these claims [Doc. 114], which remains pending before the Court.             Accordingly,

  defendant’s instant motion for a new hearing and appointment of counsel [Doc. 108] is

  both improper and duplicative and is therefore DENIED. The Court will address the

  allegations raised in defendant’s pending § 2255 motion in due course. Further, in light of

  this ruling, defendant’s motion for a status update on his motion for a new hearing and

  appointment of counsel [Doc. 112] is DENIED AS MOOT.

         IT IS SO ORDERED.


                                     s/ Thomas A. Varlan
                                     UNITED STATES DISTRICT JUDGE




                                              2


Case 3:17-cr-00055-TAV-DCP Document 116 Filed 05/12/21 Page 2 of 2 PageID #: 1046
